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 1          LAW OFFICES OF
           WING & PARISI
 2   A PROFESSIONAL CORPORATION
          1101 E STREET
 3    SACRAMENTO, CA 95814
                     441-4888
                State Bar #084247
 4

 5   ATTORNEYS FOR:           Defendant
 6

 7

 8                                   IN THE UNITED STATES DISTRICT COURT

 9                                  FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA                          Case No. 2:09-cr-00274 EJG

12                                     Plaintiff,

13         v.

14                                                     STIPULATION AND ORDER
     FIDEL RAYMUNDO-NAJERA, ET.                        CONTINUING SENTENCING
15                   Defendants,                       HEARING FROM SEPTEMBER 3, 2010
                                                       AT 10:00 AM TO OCTOBER 8, 2010 AT
16
                                                       10:00 AM.
17

18
19          Plaintiff, United States of America, by its counsel, Assistant United States
20
     Attorney Daniel McConkie , and defendants FIDEL RAYMUNDO-NAJERA, by his
21
     attorney, Linda M. Parisi, and MARTIN CAMPOS, by his attorney Robert F.
22

23   Waggener, hereby stipulate and agree that the sentencing hearing calendared for
24
     September 8, 2010 at 10:00 a.m. before the Honorable Senior United States District
25

26
     Court Judge, Edward J. Garcia, may be continued to October 8, 2010, at 10:00 a.m.,

27   for a sentencing.
28

     ///
                                                       1
                        Case 2:09-cr-00274-WBS Document 54 Filed 09/03/10 Page 2 of 4


              1          The defendants and their attorneys are working on the Sentencing Memorandum
              2
                  for the case. All attorneys agree with continuing the matter.
              3

              4          The defendants and their attorneys, along with the Assistant United States

              5   Attorney believe that this continuance will be the last one necessary before
              6
                  sentencing.
              7

              8          The Probation Officer Tom Brown is on vacation until September 13, 2010 so
              9   counsel was unable to confirm that the date of October 8, 2010 was acceptable to the
            10
                  Probation Officer. In light of the Probation Officer’s unavailability for the scheduled
            11

            12    date, notwithstanding the fact that counsel is confident that he has made arrangements
            13    for his absence, the suggested continuance date of October 8, 2010 may well be a
            14
                  more convenient date for the Probation Officer. Counsel spoke to Probation Officer
            15

            16    Jeffrey Oestreicher and he confirmed that Probation Officer Tom Brown would have
            17    no opposition to continuing the sentencing in this matter.
            18
                         Based upon this information, the parties stipulate and agree that time under the
            19

            20    Speedy Trial Act shall continue to be excluded to October 8, 2010 at 10:00 a.m.
            21
                  pursuant to Title 18 U.S.C. §3161(h)(8)(B)(iv), Local Code T-4 – for time for the
            22
                  defense counsel to prepare for the sentencing hearing.
            23

            24           The date has been confirmed with the Court’s courtroom deputy, Ms. Colleen
            25
                  Lydon.
            26

            27

            28
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                                                               2
                        Case 2:09-cr-00274-WBS Document 54 Filed 09/03/10 Page 3 of 4


              1          Dated: August 31, 2010
              2
                                                                   Respectfully Submitted
              3

              4

              5                                        /s/ Linda M. Parisi by e-mail authorization
              6                                        ______________________________________
                                                       Linda M. Parisi
              7                                        Attorney for Fidel Raymundo-Najera
              8

              9
            10           Dated: August 31, 2010
                                                       Lawrence G. Brown
            11
                                                       United States Attorney
            12

            13
                                                       /s/ Daniel McConkie by e-mail authorization
            14                                         ____________________________________
                                                       Daniel McConkie
            15
                                                       Assistant U.S. Attorney
            16                                         daniel.mcconkie@usdoj.gov

            17
                         Dated: August 31, 2010
            18                                         /s/ Robert F. Waggener by e-mail authorization
                                                       ____________________________________
            19
                                                       Robert F. Waggener
            20                                         Attorney for Martin Campos
                                                       rwlaw@mindspring.com
            21

            22

            23

            24

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SACRAMENTO, CA.   ///
                                                            3
                        Case 2:09-cr-00274-WBS Document 54 Filed 09/03/10 Page 4 of 4


              1                                 [PROPOSED] ORDER
              2          This matter having come on before me pursuant to the stipulation of the
              3   parties and good cause appearing therefore,
              4

              5          IT IS ORDERED THAT: the Hearing now set for September 3, 2010 at
              6   10:00 a.m., is vacated and the matter set for a status conference on, October 8,
              7   2010, at 10:00 am.
              8

              9          Further, the Court finds that the defendants' need for additional time to
            10    prepare exceeds the public interest in a trial within 70 days and, therefore, the
            11    interests of justice warrant a further exclusion of time until the hearing on October
            12    8, 2010. Based upon this finding and the representations of the parties, the Court
            13    excludes time from September 8, 2010 , pursuant to the Speedy Trial Act, 18
            14    U.S.C. § 3161(h)(8)(B)(iv), Local Code T4 (time to allow sufficient time for
            15    counsel to prepare), until the next appearance on October 8, 2010 at 10:00 a.m. or
            16    by further order of this Court.
            17

            18
            19           Dated:   September 1, 2010
            20

            21                                            /s/ Edward J. Garcia
                                                          SENIOR U.S. DISTRICT COURT JUDGE
            22

            23

            24

            25

            26

            27

            28
LAW OFFICES OF
WING & PARISI
SACRAMENTO, CA.   ///
                                                                4
